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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

R.M.S. TITANIC, INC.,
successor in interest to Titanic
Ventures, limited partnership,

               Plaintiff,

v.                                                  Civil Action No. 2:93cv902

The Wrecked and Abandoned
Vessel, . . .believed to be
the RMS TITANIC, in rem,

               Defendant.

                       PERIODIC REPORT OF R.M.S. TITANIC, INC.
                         ON THE PROGRESS OF RESEARCH AND
                              RECOVERY OPERATIONS


       NOW COMES Plaintiff, R.M.S. Titanic, Inc. (“RMST” or the “Company”), by counsel,

and files this “Periodic Report of R.M.S. Titanic, Inc. on the Progress of Research and Recovery

Operations” (“Periodic Report”).

       I. Bankruptcy.

       On August 30, 2018, the United States Bankruptcy Court for the Middle District of

Florida, Jacksonville Division (the “Bankruptcy Court”) conducted an evidentiary hearing (the

“Evidentiary Hearing”) to consider: (1) the Equity Committee’s Disclosure Statement and

Chapter 11 Plan (“EC Plan”); (2) the Unsecured Creditors’ Committee (“UCC”) Disclosure

Statement and Chapter 11 Plan, submitted in conjunction with the National Maritime Museum

(“UCC/NMM Plan”); and (3) the Debtors’ Motion for Entry of an Order Approving Competitive

Bidding and Sale Procedures . . . .” (“Debtors’ Sale Motion”).




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       At the Evidentiary Hearing, the Debtors announced that under the proposed Asset

Purchase Agreement for the sale of substantially all of the Debtors’ assets, the Stalking Horse

Purchaser would increase its purchase price from $17.5 million to $19.5 million and its breakup

fee and expense reimbursement would be increased from $1 million to $1.5 million. At the

Evidentiary Hearing it was also announced that the Debtors’ primary unsecured creditor, 417

Fifth Ave. Real Estate, LLC, would support the Debtors’ Sale Motion and oppose the disclosure

statements and accompanying Chapter 11 plans filed by the Official Committee of Equity

Security Holders and the Official Committee of Unsecured Creditors.

       On September 11, 2018, the Bankruptcy Court issued an order ruling on the issues raised

in the Evidentiary Hearing (the “Evidentiary Order”), a copy of which is attached hereto as

Exhibit 1. The Evidentiary Order approved in part the Debtors’ competitive bidding procedures

and Asset Purchase Agreement for the sale of substantially all of the Debtors’ assets, and

authorized the Debtors to submit new bidding procedures that correspond to a proposed sale

hearing on October 18, 2018 at 10:00 am.

       The Evidentiary Order did not approve the disclosure statement proposed by the Official

Committee of Equity Security Holders and held in abeyance the disclosure statement proposed

by the Official Committee of Unsecured Creditors.

       On September 13, 2108, the Bankruptcy Court entered an Order (A) Approving

Competitive Bidding and Sale Procedures; (B) Approving Form and Manner of Notices; (C)

Approving Form of Asset Purchase Agreement; (D) Approving Break-Up Fee and Expense

Reimbursement; (E) Scheduling Auction and Hearing to Consider Final Approval of Sale,

Including Rejection or Assumption and Assignment of Related Executory Contracts and

Unexpired Leases and settlement with the Pacbridge Parties; (F) Authorizing Sale of the




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Transferred Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests; and (G)

Granting Related Relief, a true and correct copy of which is attached hereto as Exhibit 2 (the

“Bid Procedures Order”).

       The Bid Procedures Order sets forth the timeline under which the Debtors’ auction and

sale hearing will take place, as set forth below:

 October 5, 2018, at 4:00 p.m.                      Bid Deadline
 October 5, 2018, at 4:00 p.m.                      Deadline to Object to Sale
                                                    Deadline to Object to Assumption and
                                                    Assignment of Transferred Contracts to
                                                    Stalking Horse Purchaser, Including Proposed
                                                    Cure Amounts
 October 9, 2018, at 4:00 p.m.                      Deadline for Debtors to Designate and Publish
                                                    Qualified Bidders
 October 11, 2018, at 10:00 a.m.                    Auction, if any
                                                    Location:
                                                    Troutman Sanders LLP
                                                    600 Peachtree Street NE, Suite 3000
                                                    Atlanta, GA 30308
 October 18, 2018, at 10:00 a.m.                    Sale Hearing
                                                    Location:
                                                    United States Bankruptcy Court for the Middle
                                                    District of Florida, Jacksonville Division
                                                    Bryan Simpson United States Courthouse
                                                    300 North Hogan Street, Courtroom 4A
                                                    Jacksonville, Florida 32202
 4:00 p.m., one day before Sale Hearing             Deadline to File and Serve Responses to Any
                                                    Sale Objection


       Critically, the Asset Purchase Agreement provides that the Stalking Horse Purchaser has

the right to terminate the Asset Purchase Agreement in the event that the Bankruptcy Court has

not entered the Approval Order (as defined by the Asset Purchase Agreement) by October 18,

2018, or if this Court has not approved and entered the defined “Admiralty Court Order” on or



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before October 31, 2018. The Asset Purchase Agreement defines the Admiralty Court Order as

an Order entered by this Court approving the transactions contemplated by the Asset Purchase

Agreement

          As previously reported to the Court, the Debtors’ liquidity position is dire. See, Transcript

of August 30, 2018 Bankruptcy Court hearing at p. 28, attached hereto as Exhibit 3. As of

August 30, 2018, the Debtors had a fully drawn $5 million debtor-in-possession credit facility.

Id. at p. 25. The Debtors’ financial advisor projects that, excluding accrued and unpaid

professional fees, the Debtors will be out of money at the end of 2018. Id. at 27-28. Including

accrued and unpaid outstanding professional fees, the Debtors are out of money today. Id.

          Under these circumstances, timing remains is critical to the consummation of the sale

contemplated under the Asset Purchase Agreement, in order to avoid a liquidation of the

Debtors. In that respect, RMST seeks to schedule a hearing with this Court on an available date

between October 18, 2018 (the deadline for the entry of the Approval Order by the Bankruptcy

Court) and October 31, 2018 (the deadline for the entry of the Admiralty Court Order by this

Court).

          RMST recognizes the limited window of time available to the Parties and the Court under

the above schedule. However, the exigencies regarding the Debtors’ liquidity and the need to

close the proposed transaction while the Debtors are operating as a going concern warrant an

expeditious schedule. Accordingly, RMST is available to appear before this Court on its

approval of the Admiralty Court Order at any time the Court is available after entry by the

Bankruptcy Court of the Approval Order.1




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 RMST will also be available at any time prior to the date of the Approval Order should this
Court deem it appropriate.


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       In addition, RMST and the Stalking Horse Purchaser have already commenced

discussions with NOAA on its position on the transaction, in advance of a hearing before the

Court, in order to promptly address any questions or concerns NOAA may have regarding the

proposed transaction. NOAA has stated that “[f]or any proposed transaction involving a 100%

stock sale of RMST to a new entity, NOAA will assess whether the proposal ensures that the

stock sale ‘does not effectuate a change in the management, conservation and curation of the

STAC.’” See, United States’ Response to RMST’s June 29, 2018 Motion to Approve Asset

Purchase Agreement, at pp.5-6 [Doc. 454]. The transaction contemplated under the APA

involves a 100% stock sale of RMST to a new entity.

       II. Section 113 and EYOS.

       On September 11, 2018, the United States, as amicus curiae, filed a Status Report which

discuses implementation of Section 113 of the Consolidated Appropriations Act, 2017, and a

possible EYOS expedition to the Titanic wreck site. RMST will further review the issues related

to Section 113, and will report back to the Court shortly. RMST did not receive a copy of the

September 5, 2018 inquiry from EYOS but has spoken with representatives of NOAA on that

request and the proposed expedition. RMST will review and report further to the Court on the

EYOS expedition, which appears to implicate RMST’s salvage rights.

        WHEREFORE, RMST submits this Periodic Report for the Court’s information and

consideration.

                                                    Respectfully submitted,

                                                    R.M.S. TITANIC, INC.

                                                    By Counsel




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                                       CERTIFICATION

       I hereby certify that the foregoing has been electronically filed through the Court’s ECF
system this 14th day of September, 2018.




       /s/
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